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                               IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JILLIAN SCHROTBERGER                                 :
                                                      :
                               Plaintiff,             :
                                                      :   Civil Action No. 2:21-CV-00364-JMY
                       v.                             :
                                                      :
 JOHN DOE, as the ADMINISTRATOR of the                :
 ESTATE OF ANDREAS SCHNEIDER-                         :
 NEUREITHER; ET AL.                                   :
                                                      :
                               Defendants.            :


                                       STIPULATION OF DISMISSAL

         The remaining parties to this action, by counsel and pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), stipulate to the dismissal of the above-captioned action, with prejudice, with each

party to bear their own fees and costs.


 KLEINBARD LLC                                     KAUFMAN DOLOWICH & VOLUCK,
                                                   LLP

 /s/ Lorena E. Ahumada                             /s/ Katharine W. Fogarty
 Matthew H. Haverstick, Esq.                       Gregory S. Hyman, Esq.
 Lorena E. Ahumada, Esq.                           Katharine W. Fogarty, Esq.
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 Counsel for plaintiff, Jillian Schrotberger       Inc.


Date: April 28, 2023



4886-3865-3024, v. 1
